
5 N.Y.2d 725 (1958)
In the Matter of The Estate of Jacob P. Galewitz, Deceased. Hannah Galewitz, Appellant; Samuel Galewitz et al., Respondents.
Court of Appeals of the State of New York.
Submitted January 14, 1958.
Decided June 25, 1958.
Samuel Robert Weltz and Milton B. Franklin for appellant.
George Green, respondent in person and for Samuel Galewitz and others, respondents.
Edward R. Finch, special guardian, for Barbara Galewitz and others, infants, respondent.
Concur: Chief Judge CONWAY and Judges DESMOND, DYE, FULD, FROESSEL, VAN VOORHIS and BURKE.
Order affirmed, with costs to all parties appearing separately and filing separate briefs payable out of the estate. No opinion.
